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                           UNITED STATES DISTRICT COURT FOR
                         THE EASTERN DISTRICT OF PENNSYLVANIA



 RONI SUE CAIMANO, on behalf of herself and    :
 all others similarly situated, and            :
                                               :
 FRANK LOVALLO, on behalf of himself and all   :
 others similarly situated,                    :
                                               : Case ID: 23-CV-3272
                               Plaintiffs,     :
                                               :
                   vs.                         :
                                               :
 HRB DIGITAL LLC, and HRB TAX GROUP,           :
 INC.,                                         :
                                               :
                               Defendants.     :


REPLY MEMORANDUM IN SUPPORT OF DEFENDANTS’ RENEWED MOTION TO
          COMPEL ARBITRATION AND TO STAY LITIGATION




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        The reasons for granting Defendants’ motion are straightforward. H&R Block’s online

contract formation process forms valid and enforceable contracts. Plaintiffs’ claims are within the

scope of the arbitration agreement. The arbitration agreement’s terms are fully enforceable under

the Federal Arbitration Act (“FAA”) and Pennsylvania law.           And established principles—

including agency—foreclose LoVallo’s attempt to circumvent arbitration.

        Plaintiffs’ opposition raises a litany of arguments in response. But Plaintiffs’ arguments

are all unavailing. And Plaintiffs’ scattershot approach serves only to underscore how misguided

their arguments are—indeed, those arguments are often contrary to controlling authority.

                                           ARGUMENT

        A.         Plaintiffs’ Attacks On Contract Formation Are Baseless.

        Plaintiffs do not dispute that H&R Block’s contract formation process requires checking a

box and clicking a button right next to an acknowledgement that “I agree to the terms and

conditions of the Electronic Communications Consent and the Online Services Agreement, which

includes the requirement that any dispute be resolved through binding arbitration.” Mem. 3. Nor

do they deny that courts across the country, including in this District, “routinely uphold”

agreements “which require users to click an ‘I agree’ box after being presented with a list of terms

and conditions of use.” Meyer v. Uber Techs., LLC, 868 F.3d 66, 75 (2d Cir. 2017); see also, e.g.,

Dobbs v. Health IQ Ins. Servs., Inc., 2022 WL 2974713, at *2-4 (E.D. Pa. July 27, 2022).

        Plaintiffs malign H&R Block’s process as “browsewrap.” Opp. 2-3, 7-10 (citing Berman

v. Freedom Fin. Network, LLC, 30 F.4th 849 (9th Cir. 2022)). But they are wrong; checking a box

and clicking a button to assent to the terms is different from being bound “simply by continuing to

use the website.” Berman, 30 F.4th at 856. Berman is also distinguishable. The acknowledgment

of H&R Block’s Online Services Agreement was clear and conspicuous—unlike in Berman, where

disclosure of the terms was printed in tiny gray font that was “barely legible.” Id. at 856-57.


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        Plaintiffs rely on Chilutti v. Uber Technologies, Inc., 300 A.3d 430 (Pa. Super. Ct. 2023),

petition for review pending (Pa. filed Aug. 18, 2023). Opp. 10-14. But they have no answer to

Defendants’ showing that the FAA preempts Chilutti. Mem. 10-12.1 Nor does Chilutti support

Plaintiffs’ novel argument (Opp. 12-14) that H&R Block was required to provide specific notice

of the mass arbitration provisions in the Online Services Agreement. That manufactured notice

requirement also is preempted. Because the FAA prevents states from requiring heightened notice

of an arbitration clause (see Mem. 12, 15 (discussing Doctor’s Associates, Inc. v. Casarotto, 517

U.S. 681, 687 (1996)), states cannot require heighted notice of specific terms within the clause.

        Plaintiffs next argue that the arbitration agreement is illusory and unsupported by

consideration because H&R Block can modify the terms of the Online Services Agreement. Opp.

30-32. This argument fails too. The Online Services Agreement requires H&R Block to “provide

notice” of any amendments and allows users to “reject” material changes to the arbitration

agreement and to opt out of any new arbitration agreement. Schuessler Decl. Ex. 4 §§ 11.1, 11.7,

14.3. The Third Circuit, applying Pennsylvania law, has held that providing notice of and

obtaining consent to changes means that “adequate consideration exists and the arbitration

agreement should be enforced.” Blair v. Scott Specialty Gases, 283 F.3d 595, 604-05 (3d Cir.

2002); see also Singh v. Uber Techs., Inc., 67 F.4th 550, 563-64 (3d Cir. 2023) (New Jersey law).

        Last, Plaintiffs say that requiring an opt out from each arbitration agreement makes opting

out illusory. Opp. 31-32. But they ignore that the Third Circuit rejected this exact argument,



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  Plaintiffs half-heartedly defend Chilutti by saying that its rule also applies to confessions of
judgment. Opp. 10 n.6. But that “attempt to cast the rule in broader terms cannot salvage” it.
Kindred Nursing Ctrs. Ltd. P’Ship v. Clark, 581 U.S. 246, 253 (2017). The FAA requires courts
to place arbitration agreements “on an equal plane with other contracts” in general, not a specific
type. Id. at 252. Confessions of judgment are not typical contracts; they are “perhaps the most
powerful and drastic document known to civil law” because “[t]he signer deprives himself of every
defense and every delay of execution.” Cutler Corp. v. Latshaw, 97 A.2d 234, 236 (Pa. 1953).

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holding that companies need not offer a “permanent opt-out right”; a “meaningful right to opt out

of every agreement” is enough. Singh, 67 F.4th at 564-65.

        B.         Plaintiffs Fail To Show That The Arbitration Agreement Is Unconscionable.

                   1.    The Arbitration Agreement Is Not Procedurally Unconscionable.

        First, Plaintiffs acknowledge that H&R Block’s contract formation process provides notice

of the arbitration agreement, but they again argue that H&R Block was required to give specific

notice of the agreement’s provisions relating to mass arbitrations. Opp. 34. That manufactured

requirement finds no support in Pennsylvania law, and Plaintiffs cite none. Moreover, as discussed

above (at p. 2), any such heightened notice rule would be clearly preempted by the FAA.

        Second, in response to Defendants’ showing that the contract’s conspicuous opt-out

provision is dispositive on procedural unconscionability (Mem. 15), Plaintiffs complain about

having to read the contract to know about the option to opt out. Opp. 35. That argument

necessarily fails as a matter of law: there is a “duty to read” contracts under Pennsylvania law.

Schillachi v. Flying Dutchman Motorcycle Club, 751 F. Supp. 1169, 1174 (E.D. Pa. 1990).

        Because Plaintiffs are required to demonstrate both procedural and substantive

unconscionability, the Court should reject their unconscionability objections at this first step.

                   2.    The Arbitration Agreement Is Not Substantively Unconscionable.

        Plaintiffs’ unconscionability objections fail at the second step too. Plaintiffs attack four

provisions: (1) the arbitration agreement’s provisions relating to mass arbitrations; (2) the scope

of the arbitration agreement; (3) the limitations on liability; and (4) the arbitration agreement’s

class waiver. None of these terms are grossly unfair or one-sided. See Quilloin v. Tenet HealthSys.

Philadelphia, Inc., 673 F.3d 221, 230 (3d Cir. 2012).

        Mass Arbitration Provisions. As predicted, Plaintiffs rely on MacClelland v. Cellco

Partnership, 609 F. Supp. 3d 1024 (N.D. Cal. 2022), appeal pending, No. 22-16020 (9th Cir.), in


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challenging the arbitration agreement’s procedures for addressing coordinated mass arbitrations.

But Defendants have shown that MacClelland is distinguishable because the agreement here tolls

the statute of limitations for claims during the bellwether process. Mem. 17-18.2

        In response, Plaintiffs argue that MacClelland raised broader concerns about delay. Opp.

36-37. But unlike the named plaintiffs in MacClelland, Plaintiffs here are not asserting their claims

as part of a mass arbitration. The MacClelland court noted that the plaintiffs’ counsel “currently

represent[ed] 2,712 Verizon customers” and considered how the mass arbitration procedures in

Verizon’s agreement would affect those customers. 609 F. Supp. 3d at 1040-42. Here, by contrast,

the two Plaintiffs have not shown that their claims even implicate the mass arbitration procedures,

much less how application of those procedures would delay the resolution of their claims.

        Plaintiffs’ concerns are also unmoored from their appropriate context. Plaintiffs do not

attempt to compare the bellwether arbitration process to alternatives for resolving many individual

cases. Not even the largest arbitration providers can simultaneously arbitrate large numbers of

cases. Under the AAA rules that would otherwise apply, the AAA assigns all cases to a small

roster of arbitrators, who then adjudicate each claim individually. Mass Arbitration Supplementary

Rules, at 8 (Jan. 15, 2024), https://bit.ly/49bKJmY. So they are resolved seriatim regardless.

        Plaintiffs also ignore the virtue of an orderly bellwether process in promoting settlement.

While bellwethers cannot force a settlement of the remaining claims in either court or arbitration,

they encourage efficient global resolution and “enhanc[e] prospects of settlement.” Malibu Media,

LLC v. John Does 1-16, 902 F. Supp. 2d 690, 702 n.9 (E.D. Pa. 2012).

        Plaintiffs argue that the mass arbitration procedures lack mutuality. Opp. 37-38. But they



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  Plaintiffs cite Achey v. Cellco P’ship, 293 A.3d 551 (N.J. App. Div. 2023), but they fail to disclose
that the New Jersey Supreme Court had agreed to review the case before the parties settled. See
300 A.3d 273 (N.J. 2023).

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ignore that in the consumer context, mass arbitrations, just like class actions or mass torts in multi-

district litigation proceedings, are by definition brought by consumers against a company and not

the other way around. Moreover, the law is clear that companies can preclude class actions in

arbitration agreements. See AT&T Mobility LLC v. Concepcion, 563 U.S. 333(2011). Even for

class actions, Federal Rule of Civil Procedure 23(g) imposes asymmetrical restrictions on class

action plaintiffs’ counsel that do not apply to defense counsel. Simply put, that mass arbitration

is a one-sided phenomenon does not and cannot mean that companies are powerless to address it.

        Finally, and in all events, the mass arbitration procedures are easily severable “without

disturbing the primary intent of the parties to arbitrate their disputes.” Monfared v. St. Luke’s

Univ. Health Network, 182 F. Supp. 3d 188, 193-194 (E.D. Pa. 2016). Here, the provision states

that “if any portion of this Arbitration Agreement is deemed invalid or unenforceable, it will not

invalidate the remaining portions of the Arbitration Agreement.” Schuessler Decl. Ex. 4 § 11.7.

        Scope. Plaintiffs concede that the scope of the arbitration agreement covers the claims they

are asserting in this lawsuit, instead arguing that the breadth of the arbitration agreement makes it

“unconscionable and absurd.” Opp. 39-43. But they point to nothing in Pennsylvania or Third

Circuit law supporting their position. Distinguishing the same out-of-circuit cases that Plaintiffs

cite here, another court in this Circuit recently found “no support in the Third Circuit for Plaintiff’s

argument that no reasonable consumer would agree to the language of the Arbitration Clause.”

Jacobowitz v. Experian Info. Sols., 2021 WL 651160, at *3-4 (D.N.J. Feb. 19, 2021).

        In addition, the Fourth and Eighth Circuits have persuasively explained why a court

addressing the scope of an arbitration clause should focus on the actual claims before it, and should

not assess the agreement’s enforceability based on hypotheticals about its reach in the “abstract”

or attempt to “define [the agreement’s] outer limits.” Mey v. DIRECTV, LLC, 971 F.3d 284, 294




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(4th Cir. 2020) (citing Parm v. Bluestem Brands, Inc., 898 F.3d 869, 878 (8th Cir. 2018)). Here,

Plaintiffs’ claims relate to information allegedly provided during the use of H&R Block’s online

tax preparation and filing services. Those claims plainly relate to the Online Services Agreement

and incorporated Privacy Policy governing the use of those services.

        Finally, Plaintiffs’ (erroneous) proposed interpretation of Pennsylvania law that would

allow courts to invalidate arbitration agreements as overbroad is preempted by the FAA. Arguing

that an arbitration agreement is harmful because it is “too broad” necessarily rests on an

assumption that a consumer is harmed by arbitration. Yet that assumption embodies the very

hostility towards arbitration that the FAA prohibits. For decades, “suspicion of arbitration as a

method of weakening the protections afforded in the substantive law to would-be complainants”

has been “far out of step with our current strong endorsement of the federal statutes favoring this

method of resolving disputes.” Rodriguez de Quijas v. Shearson/Am. Express, Inc., 490 U.S. 477,

481 (1989). Congress enacted the FAA “precisely to still” any “cry of ‘unconscionable!’ [that]

just repackages the tired assertion that arbitration should be disparaged as second-class

adjudication.” Carbajal v. H&R Block Tax Servs., Inc., 372 F.3d 903, 906 (7th Cir. 2004).

        Limitation on Liability. This challenged provision is found outside—not within—the

arbitration agreement. Accordingly, Plaintiffs’ challenge to it is for the arbitrator to decide under

the FAA’s “rule of severability.” Mem. 16 (citing Buckeye Check Cashing, Inc. v. Cardegna, 546

U.S. 440, 447, 449 (2006); Prima Paint Corp. v. Flood & Conklin Mfg. Co., 388 U.S. 395, 403-

04 (1967)). Plaintiffs are wrong in arguing that this well-established rule applies only to delegation

clauses (Opp. 33 n.16); indeed, neither Buckeye nor Prima Paint involved delegation.

        Plaintiffs’ challenges to that provision also are wrong on their own terms. They ignore that

the Online Services Agreement states that the limitation on liability “does not apply” in states that




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do not allow for enforcement of contractual limitations on remedies. Schuessler Decl. Ex. 4 § 9.3.

They also ignore that the arbitration agreement authorizes the arbitrator to award “the same

remedies available in court” for individual claims, “including compensatory, statutory, and

punitive damages.” Id. Ex. 4 § 11.4. There is nothing unfair about authorizing the arbitrator to

award any individualized remedies that a court can award.           And, even if there were any

uncertainties about the arbitrator’s authority to award full individualized remedies—and there are

not here—those uncertainties are for the arbitrator to resolve. Quilloin, 673 F.3d at 231 (addressing

limitations on attorneys’ fees) (citing PacifiCare Health Care Sys. v. Book, 538 U.S. 401 (2003)).

        Class Waiver. Plaintiffs concede that their attack on the arbitration agreement’s class

waiver would be frivolous under the FAA and binding precedent. See Mem. 16-17. Instead, they

contend that the FAA does not apply at all, arguing that Section 2 of the FAA limits the statute’s

reach to claims “arising out of” the underlying contract containing the arbitration clause. Opp. 46-

47 (quoting 9 U.S.C. § 2). But neither the Supreme Court nor the Third Circuit has ever adopted

that constrained interpretation of Section 2. On the contrary, few refrains are more consistent in

the Supreme Court’s FAA jurisprudence than the directive that Section 2 requires courts to enforce

arbitration agreements “according to their terms.”3 And courts’ “duty to enforce arbitration

agreements is not diminished when a party bound by an agreement raises a claim founded on

statutory rights.” Shearson/Am. Express, Inc. v. McMahon, 482 U.S. 220, 226 (1987).

        Plaintiffs’ proposed limitation on the scope of the FAA also offers them no help on its own

terms. As just discussed, Plaintiffs’ claims easily “aris[e] out of” a “transaction involving


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 E.g., Lamps Plus, Inc. v. Varela, 139 S. Ct. 1407, 1412 (2019); Henry Schein, Inc. v. Archer &
White Sales, Inc., 139 S. Ct. 524, 529 (2019); Epic Sys. Corp. v. Lewis, 584 U.S. 497, 506 (2018);
Am. Express Co. v. Italian Colors Rest., 570 U.S. 228, 233 (2013); CompuCredit Corp. v.
Greenwood, 565 U.S. 95, 98 (2012); Concepcion, 563 U.S. at 339; Rent-A-Center, West, Inc. v.
Jackson, 561 U.S. 63, 67 (2010); Casarotto, 517 U.S. at 688.


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commerce” (9 U.S.C. § 2)—the use of H&R Block’s online services for federal tax preparation

and filing and related services. See Mem. 6-7.4

        C.         Plaintiff LoVallo Cannot Avoid Arbitration.

        LoVallo is required to arbitrate under at least three doctrines, any one of which is sufficient.

        Agency. Remarkably, LoVallo ignores Defendants’ showing that the spousal context

makes the standards for an agency relationship much easier to satisfy. Mem. 19-20. He argues

that agency is a “question of fact” (Opp. 26), but there are no disputed facts. LoVallo concedes

that he authorized his wife to file joint tax returns on behalf of both of them. Opp. 27.

        Given that concession, his arguments against agency are frivolous. LoVallo splits hairs

when he says that he did not specifically authorize his wife to choose H&R Block and enter into

an arbitration agreement. Opp. 27-28. By giving his wife authority to file the joint tax returns on

behalf of both of them, LoVallo also gave her authority to take all “proper, usual and necessary”

steps to achieve that end, including entering into the Online Services Agreement governing the

account and services used for that purpose. Washburn v. Northern Healthcare Facilities, Inc., 121

A.3d 1008, 1012 (Pa. Super. Ct. 2015). The FAA preempts any contrary reading of Pennsylvania

law that would impose arbitration-specific hurdles on that broad grant of authority: LoVallo’s

argument that he had to expressly give his wife authority to agree to arbitration is just like the

state-law “clear statement” rule that the Supreme Court rejected in Kindred. 581 U.S. at 252-54.

        Because of the clear agency relationship, the Court could stop there. But LoVallo’s


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  This case is thus nothing like Calderon v. Sixt Rent a Car, LLC, 5 F.4th 1204 (11th Cir. 2021)
(cited at Opp. 46)—an outlier decision on the reach of Section 2 that has not been followed by the
Supreme Court or Third Circuit. In Calderon, the defendant rental car company’s contract with
the plaintiff “didn’t contain an arbitration provision.” Id. at 1207. Rather, it tried to piggyback on
the plaintiff’s arbitration agreement with Orbitz, the website the plaintiff used to reserve the car.
Id. The Court held this reached too far because plaintiff’s claims were solely about the defendant’s
alleged misconduct and not his online transaction with Orbitz. Id. at 1209-12.


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arguments against applying equitable estoppel and third-party beneficiary doctrines are wrong too.

        Equitable Estoppel. LoVallo first argues that equitable estoppel requires a showing of

detrimental reliance. Opp. 14-16. But that requirement does not exist either in the Pennsylvania

or Third Circuit cases in this context. See Mem. 21. LoVallo’s suggestion (Opp. 15-16) that

Morgan v. Sundance, Inc., 596 U.S. 411 (2022), implicitly overruled all of these cases is

unfounded. That limited decision held only that federal courts may not create “arbitration-specific

procedural rules” for “waiver,” because the FAA instead requires federal courts to treat arbitration

motions like all other motions subject to general federal procedures. Id. at 419 (citing 9 U.S.C.

§ 6). Morgan does not displace state substantive law on when non-signatories must arbitrate.

        LoVallo next argues that he could not have knowingly sought or obtained direct benefits

from the Online Services Agreement without knowing about that agreement. Opp. 16-19. But

that head-in-the-sand theory does not work: he concedes that he gave his wife “permission to

prepare and file our joint tax returns” and “understood” that she was doing so (LoVallo Decl. ¶¶ 5-

6), including inputting on his behalf his personal information and a unique identifier certifying the

accuracy of the return (Mem. 20-21). He thus “knowingly exploit[ed]” the contract by “seeking

and obtaining” the benefit of having his taxes filed for multiple years. Griswold v. Coventry First

LLC, 762 F.3d 264, 272 (3d Cir. 2014). There’s nothing “indirect” (Opp. 20) about that benefit:

both LoVallos benefitted directly from using H&R Block to prepare and file their joint tax returns.5


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  The cases Plaintiffs cite are inapposite, because they do not involve one spouse authorizing
another to conduct a transaction for the benefit of the couple. For example, in County of Monmouth
v. Rite Aid Corp., 2023 WL 2743552 (E.D. Pa. Mar. 31, 2023), appeal filed (Apr. 10, 2023), the
court held that an arbitration provision in a contract between Rite Aid and a corporation managing
pharmacy benefits did not bind an individual Rite Aid shopper who was a complete stranger to the
transaction and only indirectly benefited from the reduced prescription drug prices set forth in the
contract. Id. at *1. And in Trina Solar US, Inc. v. Jasmin Solar Pty Ltd., 954 F.3d 567 (2d Cir.
2020), the solar panel contract was between an agent of the non-signatory defendant and a Chinese
manufacturer, but the agent corporation was contracting “in its own right” and not on behalf of the
defendant, so any benefit to the defendant was indirect. Id. at 569, 571-72.

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        Defendants also showed that LoVallo’s claims implicate the Online Services Agreement

and incorporated Privacy Policy, independently satisfying the test for equitable estoppel. Mem.

22-23. LoVallo responds that this test requires him to cite the Online Services Agreement in the

complaint. Opp. 21-22. But the cases he cites do not support that overly narrow reading. For

example, in O’Hanlon v. Uber Technologies, Inc. (cited at Opp. 18, 22), the Third Circuit held that

the plaintiffs were not relying on Uber’s terms because the premise of their claims under the

Americans with Disabilities Act was that they were prevented “from partaking in or benefiting

from that service agreement in the first place.” 990 F.3d 757, 767 (3d Cir. 2021). By contrast, it

is undisputed that Plaintiffs obtained tax preparation and filing services from H&R Block.

        Third-Party Beneficiary. First, LoVallo argues that he is not a third-party beneficiary

because his claims “arise under federal and state law” instead of the Online Services Agreement.

Opp. 23. But as discussed above, his claims do “relate to” his “third-party beneficiary status”

under that agreement. Id. (quotation marks omitted). His claims depend on the use of H&R

Block’s online services to prepare and file joint tax returns—something his wife did.

        Second, LoVallo makes much of the language in the Online Services Agreement saying

that the benefits of the agreement “are intended solely for the original purchaser of the Products

and Services.” Opp. 24-25 (quoting Schuessler Decl. Ex. 4 § 14.9). But the very next sentence

makes clear that this language reflects a prohibition on “assign[ing], delegat[ing] or otherwise

transfer[ring] this Agreement.” Id. No assignments or transfers occurred here; rather, in a

(commonplace) joint filing situation like this one, both taxpayers receive the benefit of the

“original purchaser[’s]” use of H&R Block’s online tax preparation and filing services.




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                                         CONCLUSION

        The Court should enter an order (i) compelling Plaintiffs to arbitrate their claims on an

individual basis; and (ii) staying this action pending the outcome of those arbitrations.



Date: February 5, 2024                        Respectfully submitted,

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                                              GROUP, INC. AND HRB DIGITAL LLC




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                                 CERTIFICATE OF SERVICE

        I certify that on February 5, 2024, I electronically filed the foregoing document with the

Clerk of the Court for the U.S. District Court, Eastern District of Pennsylvania, using the

electronic case filing system of the court, which sent notification of such filing to all CM/ECF

participants.

                                              /s/ Mark B. Goodheart
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                                             and HRB Digital LLC




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